
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Petitioners (Durham County DSS and Guardian) on the 20th day of December 2005 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the (Respondent Mother), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 6th day of April 2006."
Upon consideration of the petition filed on the 20th day of December 2005 by Petitioners (Durham County DSS and Guardian) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*923"Denied by order of the Court in conference, this the 6th day of April 2006."
